Case No. 1:20-cv-00742-DDD-KAS Document 379-3 filed 08/28/23 USDC Colorado pg 1
                                    of 2
Case No. 1:20-cv-00742-DDD-KAS Document 379-3 filed 08/28/23 USDC Colorado pg 2
                                    of 2




                                                        Footnotes


   *     We conclude that oral argument would not materially help us to decide the appeal. So we have decided the
         appeal based on the record and the parties’ briefs. See Fed. R. App. P. 34(a)(2)(C); 10th Cir. R. 34.1(G).

         Our order and judgment does not constitute binding precedent except under the doctrines of law of the case,
         res judicata, and collateral estoppel. But the order and judgment may be cited for its persuasive value if
         otherwise appropriate. See Fed. R. App. P. 32.1(a); 10th Cir. R. 32.1(A).

   1     In the course of appealing the denial of sanctions, Mr. Rusk complains about three other rulings:

            1. Dismissal of the suit (April 30, 2019)

            2. Denial of the first motion to reopen (May 22, 2019)

            3. Denial of the second motion to reopen (November 19, 2019)

         The appeal is late for a challenge to the first two rulings. See Fed. R. App. P. 4(a)(1)(A) (providing a general
         30-day deadline for appeals in civil cases), (a)(4)(A)(vi) (stating that a timely Rule 60 motion tolls the start of
         the appeal deadline until entry of the order on this motion), (a)(4)(B)(ii) (providing a 30-day period to appeal
         the denial of a Rule 60 motion).

         The appeal is timely as to the third ruling, but he waived this issue by failing to develop a related argument.
         See United States v. Wooten, 377 F.3d 1134, 1145 (10th Cir. 2004) (declining to consider “issues adverted
         to in a perfunctory manner, unaccompanied by some effort at developed argumentation” (internal quotation
         marks omitted)).



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